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             IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF TEXAS
                      BEAUMONT DIVISION

                                                                       FILED: 1/19/11
                                                                   U.S. DISTRICT COURT
                                No. 1:10-CR-70(31)               EASTERN DISTRICT COURT
                                                                 DAVID J. MALAND, CLERK

 United States of America


 v.

 Patrick Fernand Brupbacher

                                              Defendant


      Findings, Conclusions and Recommendations on Guilty Plea


       This action is referred to the undersigned United States Magistrate Judge
 to hear and receive defendant’s guilty plea. On January 18, 2011, defendant,
 defendant’s counsel, and the attorney for the government came before the court
 for a guilty plea and allocution on Count I of the Information charging a
 violation of 21 U.S.C. § 843(b).

                                    Guilty Plea

       After conducting proceedings in the form and manner prescribed by Rule
 11 of the Federal Rules of Criminal Procedure, and with consent of all parties,
 the undersigned finds:
       (1)    Defendant, after consultation with counsel of record, knowingly and
              voluntarily consents to pleading guilty before a United States
              magistrate judge, and did plead guilty to Count I of the Information.
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       (2)       Defendant is fully competent and capable of entering an informed
                 plea; is aware of the nature of the charges and the consequences of
                 the plea; and the plea of guilty is a knowing and voluntary plea
                 supported by an independent basis in fact containing each of the
                 essential elements of the offense.

 Accordingly, defendant’s guilty plea is accepted, and defendant is bound thereto.

                                   Plea Agreement

       [ ]       Defendant’s plea is an open plea, i.e., made without a plea
                 agreement.
       [ T]      Defendant’s plea is made pursuant to a written plea agreement and
                 stipulation of relevant facts, copies of which were produced for
                 inspection and filed in the record.
       [ T]      The plea agreement is of the type specified in Fed. R. Crim. P. 11
                 (c)(1)(A) in that the attorney for the government will not bring, or
                 move to dismiss, other charges.
       [ T]      The plea agreement is of the type specified in Fed. R. Crim. P. 11
                 (c)(1)(B) in that the attorney for the government will recommend, or
                 agree not to oppose the defendant’s request, that a particular
                 sentence or sentencing range is appropriate or that a particular
                 provision of the Sentencing Guidelines, or policy statement, or
                 sentencing factor does or does not apply (such a recommendation or
                 request does not bind the court).
       [     ]   The plea agreement is of the type specified in Fed. R. Crim. P. 11
                 (c)(1)(C) in that the attorney for the government will agree that a
                 specific sentence or sentencing range is the appropriate disposition
                 of the case, or that a particular provision of the Sentencing
                 Guidelines, or policy statement, or sentencing factor does or does not
                 apply (such a recommendation or request binds the court once the
                 court accepts the plea agreement).

       [ T]      Defendant was advised that the court may defer its decision as to
 acceptance or rejection of the plea agreement until it reviews the presentence
 report, and was further advised:


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             [ T]   if the court rejects the plea agreement’s stipulations regarding
                    non-binding sentencing recommendations or requests,
                    defendant will have no right to withdraw the plea;

             [ ]    if the court rejects the plea agreement’s stipulations regarding
                    binding sentencing recommendations or requests, the court
                    will give defendant an opportunity to withdraw the plea of
                    guilty; and

             [ T]   if the court accepts that part of the plea agreement wherein
                    the attorney for the United States agrees to dismiss or not
                    bring other charges, such agreed disposition will be included
                    in the judgment; but if the court rejects that provision, the
                    court will give defendant an opportunity to withdraw the plea
                    of guilty; and

             [ T]   if defendant is given an opportunity to withdraw the plea of
                    guilty, and chooses not to, the court may dispose of the case
                    less favorably toward the defendant than the plea agreement
                    contemplated.


                             RECOMMENDATIONS

       Defendant should be adjudged guilty of the offense to which he has
 pleaded guilty. The court should defer a decision to accept or reject the plea
 agreement until it reviews the presentence report.

                                 OBJECTIONS

       Upon conclusion of the guilty plea proceedings, all parties stated that they
 do not object to the findings, conclusions and recommendations stated above.


                     19 day of January, 2011.
       SIGNED this _____




                                       ______________________________________
                                       Earl S. Hines
                                       United States Magistrate Judge

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